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 3   Fresno, California 93721
     Telephone: (559) 441-7111
 4
     Attorney for Defendant
 5
     GALENE BOLANOS
 6
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA         |
                                      |
10               Plaintiff,           |     Case No. 13 CR 362 AWI/BAM
     vs.                              |
11                                    |     STIPULATION AND
     GAYLENE BOLANOS,                 |     ORDER TO ADVANCE HEARING
12                                    |
           Defendant.                 |
13                                    |

14         Defendant GALYENE BOLANOS by and through her attorney James R. Homola,

15   and the united States of America, by and through its attorney, Grant Rabenn,

16   Assistant U.S. Attorney, hereby stipulate to the following joint request:

17   That a status conference be scheduled for July 27, 2015 before Magistrate-

18   Judge McAuliffe

19   DATED: July 15, 2015

20
           /s/ James R. Homola                    /S/ Grant Rabenn
21         JAMES R. HOMOLA                        GRANT RABENN
           Attorney for Defendant                 Assistant U.S. Attorney
22         GAYLENE BOLANOS

23         /s/ Dale Blickenstaff                  /S/ Peter Michael Jones
           DALE BLICKENSTAFF                      PETER MICHAEL JONES
24         Attorney for Defendant                 Attorney for Defendant
           JAMES K. SCHWARTZ                      LOUIE CALLES
25
           /s/ Steven Leon Crawford               /S/ Eric Vincent Kersten
26         STEVEN LEON CRAWFORD                   ERIC VINCENT KERSTEN
           Attorney for Defendant                 Attorney for Defendant
27         RODNEY E. MOON                         LADONNA LEE MOON

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          Case 1:13-cr-00362-AWI-BAM Document 237 Filed 07/16/15 Page 2 of 2


 1         /s/ Harry M. Drandell                  /S/ Barbara Hope O’Neill
           HARRY M. DRANDELL                      BARBARA HOPE O’NEILL
 2         Attorney for Defendant                 Attorney for Defendant
           CHARLES W. UPTERGROVE                  LEROY D. COMBS
 3
           /s/ Richard A. Beshwaite, Jr
 4         RICHARD A. BESHWAITE, JR
           Attorney for Defendant
 5         OSWALD GEORGNER

 6
                                          ORDER
 7
     IT IS SO ORDERED that a 6th Status Conference for all defendants is set for
 8
     July 27, 2015 at 1:00PM before Judge McAuliffe.
 9

10   IT IS SO ORDERED.
11
        Dated:   July 15, 2015                       /s/ Barbara A. McAuliffe   _
12
                                             UNITED STATES MAGISTRATE JUDGE
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